
445 So.2d 1232 (1984)
Glen ALLEN
v.
Cecil M. KEENEY, Donald R. Chandler, John R. Tipton, Steve Davis, Fred Martin, John Pennington, Charles O. Seruntine, Jr., Floyd Jenkins, Courtney Pennington, Employers Mutual Liability Insurance Company of Wisconsin, Standard Paint and Varnish Company, Inc., Nolty J. Theriot, Inc. and the Continental Insurance Company.
No. 84-C-0152.
Supreme Court of Louisiana.
February 27, 1984.
Denied.
CALOGERO, BLANCHE and LEMMON, JJ., would grant the writ.
